Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 1 of 15 PageID# 1347




                         Exhibit 10
    Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 2 of 15 PageID# 1348
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________ Districtofof
                                                                             Virginia
                                                                               __________
              Sony Music Entertainment, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:18-cv-00950-LO-JFA
       Cox Communications, Inc. and CoxCom LLC                                )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:          MarkMonitor, Inc. c/o Jeffrey M. Gould, Oppenheim & Zebrak LLP, 5225 Wisconsin Ave. NW, Ste. 503,
                                                      Washington, DC 20015
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A



  Place: Winston & Strawn LLP                                                           Date and Time:
           101 California St., 35th Fl.                                                                      01/21/2019 5:00 pm
           San Francisco, CA 94111

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/07/2019

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                 s/ Diana Hughes Leiden
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Cox Communications, Inc. and CoxCom LLC                                 , who issues or requests this subpoena, are:
Diana Hughes Leiden, Winston & Strawn LLP, 333 S. Grand Ave., Fl. 38, Los Angeles, CA, (213) 615-1700

                               Notice to the person who issues or requests this subpoena '+/HLGHQ#ZLQVWRQFRP
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
    Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 3 of 15 PageID# 1349
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:18-cv-00950-LO-JFA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
    Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 4 of 15 PageID# 1350
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 5 of 15 PageID# 1351




                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                    Plaintiffs,
                                        Case No. 1:18-cv-00950-LO-JFA
              v.

  COX COMMUNICATIONS, INC., et al.,

                    Defendants.

          ATTACHMENT A TO THE SUBPOENA TO MARKMONITOR, INC.
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 6 of 15 PageID# 1352




                GENERAL DEFINITIONS AND RULES OF CONSTRUCTION

         Notwithstanding any definition below, each word, term, or phrase used in these Requests

  is intended to have the broadest meaning permitted under the Federal Rules of Civil Procedure.

          1.     “You,” or “Your” shall mean MarkMonitor, Inc, and/or any of its representatives,

  all past and present predecessors, successors, subsidiaries, affiliates, and parent companies, and

  all past and present directors, officers, partners, employees, agents, representatives, or persons

  acting on behalf of the forgoing entities, including but not limited to DtecNet Software and

  Clarivate Analytics.

          2.     “Cox” shall refer to Defendants Cox Communications, Inc. and/or CoxCom, LLC.

          3.      “Communication” means the transmittal of information (in the form of facts,

  ideas, inquiries, or otherwise), whether orally, in writing, or otherwise, including but not limited

  to written correspondence, reports, mailings, conversations, meetings, letters, notes, recordings,

  and telegraphic, facsimile, telex or computer-assisted electronic messages (including but not

  limited to e-mail, text messaging, instant messaging, VoIP calls, video conferencing, and posts

  on social media platforms or blogs).

          4.     “Complaint” shall refer to Plaintiffs’ complaint filed on or about July 31, 2018, in

  the above-captioned matter.

          5.      “Document” or “Documents” as used herein shall have the broadest possible

  construction under the Federal Rules of Civil Procedure, and shall include, but is not limited to,

  all original written, recorded, or graphic materials of any nature whatsoever, all mechanical or

  electronic sound or video recordings or transcripts thereof, and all copies thereof, including

  without limitation, letters, notes, memoranda, reports, minutes or records of meetings, orders,

  diaries, statistics, source code, trouble tickets, source version control history, including all source
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 7 of 15 PageID# 1353




  code comments and associated comments, statements, publications or articles, transcripts,

  manuscripts, summaries, circulars, books, pamphlets, bulletins, notations of conversations,

  manuals, speeches, drawings, blue-prints, telephone calls, emails, text messages, and instant or

  internet messaging sessions, meetings or other communications or electronic communications of

  any kind, as well as any information or material stored in electronic, mechanical or magnetic

  media, such as tapes, cassettes, computer or floppy disks, email, archived or deleted email, log

  files, CD-ROM, DVD-ROM, personal data organizers, network share drives, electronic mirror-

  images of hard drives, flash drives, flash memory, any information stored on any Electronic

  Storage Device or in any Cloud Storage Account, and any information stored or available on the

  Internet, or on any hosted service provider, or other remote storage facility. A draft or non-

  identical copy is a separate document within the meaning of this term.

          6.     “ISP” shall refer to Internet Service Provider.

          7.     “CAS” shall refer to the Copyright Alert System, or this system prior to the

  adoption of such nomenclature.

          8.     “RIAA” shall refer to the Recording Industry Association of America and its

  predecessors, successors, subsidiaries, affiliates, members, shareholders, directors, officers, past

  and present employees, agents, representatives, consultants, and any other person acting, or

  purporting to act, on the RIAA’s behalf.

          9.     The term “peer-to-peer file sharing sites” shall include websites, other locations

  on the Internet or other networks, services, products, applications, apps, software, hardware,

  programs or programming, code, computer-based products, and/or any similar or related thing,

  including but not limited to those utilizing the BitTorrent technology or protocol.
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 8 of 15 PageID# 1354




           10.    “Person” shall mean any natural person, firm, association, partnership,

  government agency, or other entity and its officers, directors, partners, employees, former

  employees, representatives and agents.

           11.    “Stroz Friedberg” shall refer to Stroz Friedberg, an Aon company, and its

  predecessors, successors, subsidiaries, affiliates, members, shareholders, directors, officers, past

  and present employees, agents, representatives, consultants, and any other person or entity

  acting, or purporting to act, on Stroz Friedberg’s behalf.

           12.    “Your System” shall refer to Your system for monitoring and/or detecting alleged

  copyright infringement, generating copyright infringement notices, and sending copyright

  infringement notices.

           13.    “Harbor Labs” shall refer to Harbor Labs and its predecessors, successors,

  subsidiaries, affiliates, members, shareholders, directors, officers, past and present employees,

  agents, representatives, consultants, and any other person or entity acting, or purporting to act, on

  Harbor Labs’ behalf.

           14.    As used herein, the terms “this lawsuit,” “this litigation,” and “this case” refer to

  Sony Music Entertainment, et al. v. Cox Communications, Inc., et al., Case No. 1:18-cv-00950-

  LO-JFA, pending in the United States District Court for the Eastern District of Virginia.

           15.    “Plaintiffs’ Claim Period” shall refer to the time period from February 2013

  through November 2014.

           16.    “Copyright Works” shall refer to those works Plaintiffs claim were infringed and

  for which Plaintiffs seek relief in this litigation, as set forth in Exhibit A hereto.

           17.    “And” and “or” shall be construed conjunctively or disjunctively as necessary to

  bring within the scope of the discovery request all responses that might otherwise be construed to
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 9 of 15 PageID# 1355




  be outside of its scope, and the use of the singular form of any word includes the plural and vice

  versa.

            18.   “Any” and “all” shall mean one or more.

            19.   The term “date” means the exact day, month and year, if ascertainable; and if not

  ascertainable, the closest approximation that can be made by means of relationship to other

  events, locations or matters.

           20.    The terms “reflecting,” “referring,” “relating to,” “concerning” or any derivation

  thereof shall mean, without limitation, consisting of, constituting, containing, mentioning,

  describing, summarizing, evidencing, listing, indicating, analyzing, explaining, supporting,

  undermining, contradicting, concerning, pertaining to, prepared in connection with, used in

  preparation for, or being in any way legally, logically, or factually connected with the matter

  discussed.

           21.    “Including” shall mean without limitation.

           22.    The term “writings,” “recordings,” and “photographs” are defined to be

  synonymous in meaning and equal in scope to the usage of those terms in Fed. R. Evid. 1001.

           23.    Unless the request specifically states otherwise, references to the singular shall

  include the plural and vice versa; references to one gender shall include the other gender;

  references to the past including the present and vice versa; and disjunctive terms include the

  conjunctive and vice versa.

                                          INSTRUCTIONS

           1.     Each requested document shall be produced in its entirety, including all

  attachments and enclosures. If a portion of a document is responsive to a request, produce the

  entire document, including all attachments, enclosures, “post-it”-type notes, and any other matter
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 10 of 15 PageID# 1356




   physically attached to the document.        If a document responsive to any request cannot be

   produced in full, it shall be produced to the extent possible with an explanation stating why

   production of the remainder is not possible.

          2.      Furnish all available documents in Your possession, custody, or control. You

   must search computerized files, emails, voice mails, work files, desk files, calendars and diaries,

   and any other locations and sources if the requested materials might plausibly exist there.

          3.      If You do not possess information to answer any request for documents, You are

   under a duty to make a reasonable effort to obtain such information.

          4.      Produce electronic records and computerized information in an intelligible format,

   together with a description of the system from which they came, sufficient to permit rendering

   the records and information intelligible.

          5.      Select and number the documents with sufficient information to ensure

   identification of the source and sequence of each document.

          6.      If, in responding these document requests, You assert a privilege to any particular

   request, You must identify the nature of the privilege (including attorney work product) that is

   being claimed, and, if the privilege is governed by state law, indicate the state’s privilege rule

   being invoked. In addition, You must sufficiently describe and identify the privilege to permit

   Cox and the Court to make an informed decision as to whether the matter is indeed privileged.

          7.      If You seek to withhold any information based on some limitation of discovery

   (including, but not limited to, a claim of privilege) applicable to any document, provide all parts

   of the document within the scope of the requests that are not subject to privilege. For each item

   of information contained in a document to which You claim privilege, provide at least the

   following:
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 11 of 15 PageID# 1357




                  a)      the privilege You are asserting and the factual basis;

                  b)      the names and positions of the author of the document and all other

                          persons participating in the preparation of the document;

                  c)      the name and position of each individual or other person who received the

                          information in the document;

                  d)      the date of the document;

                  e)      a description of any accompanying material transmitted with or attached to

                          such document;

                  f)      the number of pages in the document;

                  g)      the particular request to which the document is responsive;

                  h)      whether the document has any discussion of business or non-legal matters;

                          and

                  i)      the steps You took to ensure the confidentiality of the document.

   For email or message threads that contain multiple emails/messages, provide the above

   information for each email/message.

          8.      If Your response to a particular request is a statement that You lack the ability to

   furnish documents in that request, You must specify whether the inability to comply is because

   the particular item of information never existed, has been destroyed, has been lost, misplaced, or

   stolen, or has never been, or is no longer in Your possession, custody, or control, in which case

   identify the name and address of any person or entity You know or believe to have possession,

   custody, or control of that information.
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 12 of 15 PageID# 1358




           9.      If a document once existed and has later been lost, destroyed, or otherwise

   missing, please identify the document and state the details concerning the disposition of the

   document.

           10.     If, in responding to these document requests, You claim any ambiguity in

   interpreting either a request or a definition or instruction applicable thereto, such claim shall not

   be utilized by You as a basis for refusing to respond, but You shall set forth as part of Your

   response to the request the language deemed to be ambiguous and the interpretation You choose

   to use in responding to the request.

           11.     If You have a good-faith objection to any request or any part of any request, state

   the specific nature of the objection and whether it applies to the entire request or to specific parts

   of a request. If the objection relates to only a part or parts of a request, identify the objectionable

   part or parts and identify or produce any and all documents responsive to the remaining parts.

           12.     These Requests shall be deemed continuing within the meaning of Rules 26(e)(1)

   and (2) of the Federal Rules of Civil Procedure so as to require supplemental production of

   Documents if You discover responsive Documents after the date for response hereto despite a

   diligent effort to produce all responsive Documents within the time specified.

                                  REQUESTS FOR PRODUCTION

           1.      All Documents and Communications concerning any agreement between You and

   any Plaintiff(s).

           2.      All Documents and Communications concerning any agreement between You and

   the RIAA.

           3.      All Documents concerning any financial interest, whether actual or contingent,

   You have in any of the Plaintiffs or their copyrights.
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 13 of 15 PageID# 1359




            4.     All Documents concerning any financial interest, whether actual or contingent,

   You have in an actual or potential recovery by any Plaintiff or group of Plaintiffs in this

   litigation.

            5.     All Documents concerning any ownership interest that the RIAA or any Plaintiff

   has in You or any of Your affiliated, parent, or subsidiary companies.

            6.     All Communications between You and any of Cox’s subscribers, account holders,

   or customers.

            7.     All Documents concerning any presentation, solicitation, or proposal to the RIAA

   and/or Plaintiffs regarding Your System.

            8.     Any databases, indices, or other repositories of information concerning notices of

   claimed infringement that were created with Your System and that were sent to Cox or any of

   Cox’s subscribers, account holders, or customers in connection with alleged infringement of the

   Copyright Works.

            9.     Any databases, indices, or other repositories of information concerning the

   identification of a Cox IP address in connection with alleged infringement of the Copyright

   Works.

            10.    All copies of files, or portions or derivatives thereof (including any hashes or

   checksums of files or portions of files), concerning the Copyright Works, that You downloaded

   or caused to be downloaded from a Cox subscriber, account holder, or customer.

            11.    All Documents concerning any files, or portions thereof, concerning the

   Copyright Works, that You downloaded from a Cox subscriber, account holder, or customer.

            12.    One copy of each version of Your System that was in use during Plaintiffs’ Claim

   Period, including all versions of the source code for each, that was used to monitor and/or detect
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 14 of 15 PageID# 1360




   copyright infringement, generate copyright infringement notices, or send copyright infringement

   notices.

          13.     All Documents concerning the revision history of Your System and the associated

   source code.

          14.     All guidelines, manuals, and other documents concerning the operation of Your

   System.

          15.     All Communications between You and the RIAA concerning Your System.

          16.     All Communications between You and any Plaintiff or group of Plaintiffs

   concerning Your System.

          17.     All Communications between You and Stroz Friedberg concerning Your System.

          18.     All Communications between You and Harbor Labs concerning Your System.

          19.     All Documents and Communications concerning the efficacy of the Your System,

   including its flaws, weaknesses, the need for potential improvements, and any proposed and/or

   implemented remediation of any such flaws or weaknesses.

          20.     All Documents concerning CAS or any proposed inter-industry agreement

   concerning the handling of notice of copyright infringement.

          21.     All Documents or Communications, whether internal or with third parties,

   concerning any limit on the number of copyright infringement notices accepted by any ISP.

          22.     All Communications with or concerning Cox or any Cox subscriber, account

   holder, or customer relating to alleged copyright infringement.

          23.     All Documents constituting, comprising, or evidencing Your software revision

   policies, including any policies that explain how revisions are made to software, where prior

   versions are stored, and how revisions are to be documented.
Case 1:18-cv-00950-PTG-JFA Document 75-11 Filed 01/18/19 Page 15 of 15 PageID# 1361




          24.    All Documents constituting, comprising, or evidencing Your policies for

   document management, preservation, storage, indexing, and disposal.
